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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )          8:05CR162
                     Plaintiff,                   )
                                                  )
       vs.                                        )         REPORT AND
                                                  )
HILARIO FELIX,                                    )     RECOMMENDATION
                                                  )
                     Defendant.                   )


       This matter is before the court on the amended motion to suppress filed by
defendant Hilario Felix (Felix) (Filing No. 177). Felix is charged in the single count of the
Superseding Indictment with a conspiracy to distribute and possess with intent to distribute
in excess of 500 grams of methamphetamine in violation of 21 U.S.C. § 846. Also charged
in the same count of the Superseding Indictment are: Ruben Lopez Cazares (Cazares),
Genaro Favala Ramirez, Eladeo Favala Ramirez, and Manuel Garcia (Garcia). Eladeo
Favala Ramirez and Garcia have entered pleas of guilty and are awaiting sentence.
Genaro Favala Ramirez has filed a motion to dismiss and is awaiting a hearing on the
motion following appointment of new counsel. Cazares is awaiting trial.
       Felix seeks to suppress all evidence obtained during and derived from the
interception of wire communications from telephone number (402) 841-4374.                 An
evidentiary hearing was held on Felix’s motion on July 14, 2006. During the hearing, the
court heard the testimony of Special Agent Drew M. Armstrong (Agent Armstrong) of the
Federal Bureau of Investigation (FBI). The court also received into evidence the following
exhibits:
              Exhibit 1 -  Second Amended Application for Interception of
                           Wire Communications - Misc. No. 04-69;
              Exhibit 1A - Second Amended Order Authorizing Interception
                           of Wire Communications - Misc. No. 04-69;
              Exhibit 1B - Second Amended Order to Service Provider -
                           Misc. No. 04-69;
              Exhibit 2 -  Initial Interim Report - Misc. No. 04-69;
              Exhibit 3 -  Application for Continued Interception of Wire
                           Communications - Misc. No. 04-69;
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            Exhibit 3A - Order Authorizing the Continued Interception of
                          Wire Communications - Misc. No. 04-69;
            Exhibit 3B - Order Authorizing the Continued Interception of
                          Wire Communications to Service Provider - Misc.
                          No. 04-69;
            Exhibit 4 -   Second Interim Report - Misc. No. 04-69;
            Exhibit 5 -   Application for Continued Interception of Wire
                          Communications - Misc. No. 04-69 and Misc. No.
                          04-75;
            Exhibit 5A - Order for Continued Interception of Wire
                          Communications - Misc. No. 04-69 and Misc. No.
                          04-75;
            Exhibit 5B - Order Authorizing the Continued Interception of
                          Wire Communications to Service Providers -
                          Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 6 -   Third Interim Report - Misc. No. 04-69;
            Exhibit 7 -   Interim Report (November 12, 2004-November
                          25, 2004) - Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 8 -   Application for Continued Interception of Wire
                          Communications - Misc. No. 04-69 and Misc. No.
                          04-75;
            Exhibit 8A - Order for Continued Interception of Wire
                          Communications - Misc. No. 04-69 and Misc. No.
                          04-75;
            Exhibit 8B - Order Authorizing the Continued Interception of
                          Wire Communications to Service Providers -
                          Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 9 -   Interim Report (November 25, 2004-December 9,
                          2004) - Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 10 - Interim Report (December 9, 2004-December 23,
                          2004) - Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 11 - Interim Report (December 22, 2004-January 6,
                          2005) - Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 12 - Application for Continued Interception of Wire
                          Communications - Misc. No. 04-69 and Misc. No.
                          04-75;
            Exhibit 12A - Order for Continued Interception of Wire
                          Communications - Misc. No. 04-69 and Misc. No.
                          04-75;
            Exhibit 12B - Order Authorizing the Continued Interception of
                          Wire Communications to Service Providers -
                          Misc. No. 04-69 and Misc. No. 04-75;
            Exhibit 13 - Interim Report (January 6, 2005-January 21,
                          2005) - Misc. No. 04-69 and Misc. No. 04-75;


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               Exhibit 14 -  Order for Sealing of Records and Postponement
                             of Notification - Misc. No. 04-69 and Misc. No.
                             04-75;
               Exhibit 15 - Chain of Custody Form;
               Exhibit 16 - Minimization Instructions;
               Exhibit 16A - Acknowledgment of Interception Instruction.
       Since the exhibits dealt with a wire interception order, all exhibits were sealed in
accordance with NECrimR 41.2. A transcript of the hearing (TR.) was filed on July 26,
2006 (Filing No. 199).


                                    FINDINGS OF FACT
       Agent Armstrong testified he was the affiant for the wiretap applications and was
involved in the investigation from its inception (TR. 6). As such, he assisted in the
interceptions and was familiar with the minimization instructions which were used in the
interceptions and the minimization efforts made in this matter (TR. 6). A Spanish language
translator was available in the room at the time the phone calls were intercepted (TR. 6-7).
The minimization instructions allowed for two minutes of interception to permit the monitor
to identify the voice and person talking and to determine whether the call was criminal or
not (TR. 7). The monitors were also faced with various code words used during the
interception to include terms for cars which were used as code words for drugs (TR. 8).
Since several of the interceptees were involved with business involving cars, i.e., a used
car lot and a car repair business, the monitors had to place the intercepted conversation
in context to determine whether to continue monitoring (TR. 8).              The two minute
minimization was used throughout the period of the wiretap (TR. 6-7). Monitors listened
to some calls for more than two minutes because of the content, and minimized other calls
in less than two minutes (TR. 21).
       The extent and nature of the wiretap are set forth in Exhibits 1 through 16A as set
forth above.
       A Second Amended Application for the Interception of Wire Communications was
presented to U.S. District Court Chief Judge Richard G. Kopf on September 28, 2004
(Exhibit 1). Therein, the United States Attorney’s office set forth the written authority of the
designee of the Attorney General under 18 U.S.C. § 2516 for the application. The

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application included the affidavit of Agent Armstrong setting forth the probable cause for
the interception. The affidavit set forth the target telephone number, a list of sixteen
persons expected to be intercepted over the target telephone number, and ten pages of
details regarding the investigation of a methamphetamine trafficking organization in the
Norfolk area of Nebraska. The details listed information from surveillance, confidential
source information, corroboration of such information, undercover agent operations, arrest
information, and polygraph examinations. The affidavit set out eight pages of pen register
information linking various individuals to the target telephone number. The affidavit set
forth the necessity for the wiretap to uncover unknown members of the organization, the
limited success of physical surveillance blunted by the organization’s efforts at counter-
surveillance, the ineffectiveness of grand jury subpoenas to gather evidence, the failure of
the use of confidential sources to identify sources of the methamphetamine (especially
those from out of state), the limited ability to use undercover agents, the limited availability
of search warrants and pen register information, the limited information available from
interviews of arrested subjects, and the limited ability to utilize trash pickups to uncover
evidence. The affidavit set forth in Section VI the minimization efforts proposed during the
duration of the wire interception.
        After review of the application and affidavit, Chief Judge Kopf found probable cause
that the target telephone number was being used to conduct a drug trafficking activity and
authorized the interceptions over the target telephone number for a period of thirty days
(Exhibit 1A). Chief Judge Kopf also required periodic reports from the government.
Interception began on September 29, 2004 at 5:39 p.m. Interim reports were made as
directed detailing the interceptions made to date and the necessity for continued
interception (e.g., Exhibit 2). These reports were received and reviewed by Chief Judge
Kopf.
        The government sought and obtained thirty-day extensions of the wiretap on
October 27, 2004 (Exhibit 3), November 12, 2004 (Exhibit 5), December 10, 2004 (Exhibit
8), and January 7, 2005 (Exhibit 12). Each of the applications contained the authorization
of the Attorney General’s designee pursuant to 18 U.S.C. § 2516, and an affidavit
containing a renewed statement of probable cause and need for the continuation of the wire

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interception. Chief Judge Kopf authorized the continued interception in separate orders
(Exhibits 3A, 5A, 8A, and 12A). Throughout the intercept, the government provided Interim
Reports to Chief Judge Kopf keeping Chief Judge Kopf abreast of the interceptions made
to date and the necessity for continued interceptions (Exhibits 2, 4, 6, 7, 9, 10, 11, and 13).
The wire interception ended on February 6, 2005. Chief Judge Kopf ordered the recordings
of the wire interceptions sealed on February 7, 2005 (Exhibit 14). The recordings were
sealed on February 7, 2005 (Exhibit 15).
       Exhibit 16 is a copy of the minimization instructions followed by the monitors of the
wiretap during the period of interception. Exhibit 16A is a signature log of the monitors of
the wire intercept acknowledging their responsibilities under the minimization instructions
and the requirements of the wire intercept orders of Chief Judge Kopf.


                                    LEGAL ANALYSIS
       Felix argues the applications for interception and amendments fail to set forth
sufficient probable cause to warrant the issuance of the interception orders. Felix also
argues the application for interception, the amendments thereto, and the application for an
extension fail to demonstrate a necessity for the interception order. Felix alleges the
government failed to comply with the minimization requirements of 18 U.S.C. § 2518.
Finally, Felix argues the wiretap recordings were not sealed immediately as required by
statute. Felix argues each of the above alleged violations require the suppression of the
evidence obtained through the interception orders.


                                    1. Probable Cause
       The statutory scheme authorizing wiretaps for law enforcement purposes requires
the inclusion of four elements in the probable cause statement:
       (1)    the offense being investigated;
       (2)    the facilities or place from which interception is to occur;
       (3)    the type of communications to be intercepted; and
       (4)    the identity of persons to be overheard.



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See 18 U.S.C. § 2518(1)(b). Each of the elements must be shown by proof sufficient to
support a judicial finding of probable cause that the facts asserted exist. If insufficient facts
are offered to establish probable cause about any one of the four elements, the order may
not be issued. James G. Carr, The Law of Electronic Surveillance, § 4:22 (2d ed. 2006).
The standard for probable cause for a wiretap is no stricter than the standard for probable
cause for the issuance of a search warrant. United States v. Milton, 153 F.3d 891, 894
(8th Cir. 1998). Like affidavits for conventional search warrants, applications for electronic
searches will be read “in a practical and commonsense fashion.” United States v. Falls,
34 F.3d 674, 680-81 (8th Cir. 1994). As the Supreme Court stated in Illinois v. Gates, 462
U.S. 213 (1983):
              The task of the issuing magistrate is simply to make a practical,
              common-sense decision whether, given all the circumstances
              set forth in the affidavit before him, including the “veracity” and
              “basis of knowledge” of persons supplying hearsay information,
              there is a fair probability that contraband or evidence of a crime
              will be found in a particular place.
Gates, 462 U.S. at 238.
       Further, “[a] warrant affidavit [need not contain] an averment of previous reliability,
the appropriate inquiry always being whether the informant’s present information is truthful
and reliable.” United States v. Scalia, 993 F.2d 984, 987 (1st Cir. 1993) (citing United
States v. Cochrane, 896 F.2d 635, 641 (1st Cir. 1990)). In making such a determination,
the affidavit must be read as a whole, with each fact gaining color from the others. United
States v. Townsley, 843 F.2d 1070, 1076 (8th Cir. 1988), modified on other grounds,
856 F.2d 1189 (8th Cir. 1988) (noting the court should not engage in punctilious,
paragraph-by-paragraph review of affidavits, but should look for a substantial basis for the
magistrate’s decision).
       The court finds the Application and Affidavit establishes there is probable cause to
believe that a methamphetamine trafficking organization was operating in the Norfolk,
Nebraska, area, and the described telephone was being used to conduct that business.
Various pieces of information gathered over a period of time mesh with one another to
arrive at that conclusion. The information gathered from pen registers, seized drug


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records, interviews with arrestees, informants, and surveillance, amounts to a convincing
account of an ongoing drug enterprise using the telephones in question.
         Further, the applications and affidavits for the extensions of the wiretap were
sufficiently detailed to warrant Judge Kopf’s issuing the extension orders.
         Even assuming, arguendo, that probable cause was lacking in sufficiency, the Leon
good faith exception would allow the admissibility of the intercepted communications.
Under United States v. Leon, 468 U.S. 897 (1984), evidence gathered pursuant to a
warrant which later is found not to have been based on probable cause need not be
suppressed if the officers enforcing the warrant relied in good faith on its validity. 18 U.S.C.
§ 2518(10)(c) provides: “The remedies and sanctions described in this chapter with respect
to the interception of electronic communications are the only judicial remedies and
sanctions for nonconstitutional violations of this chapter involving such communications.”
As stated by the Eighth Circuit in United States v. Moore, 41 F.3d 370, 376 (8th Cir.
1994).
               Leon of course dealt with the judicially developed exclusionary
               rule for Fourth Amendment violations, whereas we deal here
               with a statutory exclusionary rule imposed for a “violation of
               this chapter.” However, § 2518(10)(a) is worded to make the
               suppression decision discretionary (“If the motion is granted”),
               and its legislative history expresses a clear intent to adopt
               suppression principles developed in Fourth Amendment cases.
               See S.Rep. No. 1097, 1968-2 U.S.C.C.A.N. at 2185.
               Therefore, we conclude that the subsequently-developed Leon
               principle applies to § 2518(10)(a) suppression issues.
Id. at 376.
         In Leon, the Supreme Court held that “evidence obtained pursuant to a search
warrant should not be excluded where the officers executed the warrant ‘with an objectively
reasonable reliance on the magistrate’s determination of probable cause.’” United States
v. LaMorie, 100 F.3d 547, 555 (8th Cir. 1996) (quoting United States v. Riedesel, 987
F.2d 1383, 1391 (8th Cir. 1993)). There are four exceptions to this good faith rule:
               (1) where the issuing judicial officer was misled by information
               in an affidavit that the affiant knew was false or would have
               known was false except for his reckless disregard of the truth;
               (2) where the issuing officer “wholly abandoned his judicial

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              role;” (3) where the affidavit supporting the warrant contained
              so few indicia of probable cause “as to render official belief in
              its existence entirely unreasonable;” and (4) where the warrant
              itself is so facially deficient that no executing officer could
              reasonably presume it to be valid.
LaMorie, 100 F.3d at 555 (citations omitted). None of those exceptions apply in this
instance. The court finds the interception orders were not so deficient that an objective and
reasonable law enforcement officer could not rely on the interception orders issued by a
neutral and detached judge.
       Accordingly, Felix’s challenge to the sufficiency of the application and affidavit for
the wiretap order and the extensions thereof must fail and do not serve a basis to suppress
the evidence obtained pursuant to the wiretap.


                                        2. Necessity
       18 U.S.C. § 2518(1)(c) requires that normal investigative procedures be utilized
before employing electronic surveillance. While electronic surveillance is not to be the
initial step in the investigation, there is no requirement that law enforcement exhaust all
other available investigative procedures. United States v. Barens,47 F.3d 963, 965 (8th
Cir. 1995); United States v. Macklin, 902 F.2d 1320, 1326-27 (8th Cir. 1990). “Whether
the statutory requirement is met is to be determined by the issuing judge in a common
sense manner, and the determination is a finding of fact, which can be reversed only if
clearly erroneous.” Macklin, 902 F.2d at 1327 (citing United States v. Davis, 882 F.2d
1334, 1343 (8th Cir. 1989); United States v. Garcia, 785 F.2d 214, 223 (8th Cir. 1986))
(also holding that the § 2518(1)(c) necessity requirement was satisfied when normal
investigative procedures failed to reveal scope of conspiracy and all persons involved).
“Accordingly, the affidavit need not explain away all possible alternative techniques
because investigators are not required to use wiretaps or eavesdropping devices only as
a last resort.” Garcia, 785 F.2d at 223 (citing United States v. Matya, 541 F.2d 741, 745
(8th Cir. 1976)).
       While Felix points out that some of the investigative techniques provided the officers
with useful information, such as the information from confidential informants, which could


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be characterized as successful, a wiretap may still be authorized. See O’Connell, 841
F.2d at 1415. In this case, officers had not been able to determine from other investigative
methods the scope of the suspected conspiracy or to develop enough evidence to
successfully prosecute the suspects whom they had identified. See Macklin, 902 F.2d at
1327. There were sufficient facts set forth in the Application and Affidavit for the original
interception order and the extensions that normal investigative procedures had been tried
and failed and other techniques appeared unlikely to succeed if tried or were too
dangerous. See 18 U.S.C. § 2518(3)(c); United States v. Barnes, 47 F.3d 963, 965 (8th
Cir. 1995).
       The challenges to the wiretap orders on the basis that a wire intercept was
unnecessary and there was a failure to demonstrate that other investigative means were
tried and failed are without merit and should not serve as a basis to suppress the evidence
obtained from the wiretap.


                                  3. Failure to Minimize
       In a previous report and recommendation in this district, Magistrate Judge
Jaudzemis succinctly set forth the requirements of minimization:
                      The requirement that law enforcement minimize its
              intrusion into the private conversations taking place on the
              intercepted telephone number is mandated both by the
              statutory scheme itself, 18 U.S.C. § 2518(5) and the order
              authorizing the specific wiretaps at issue. However, no
              statutory guidelines nor criteria for assessing whether law
              enforcement’s attempts to minimize are sufficient are
              expressed anywhere in the statutory scheme. As a result,
              case law has explored the parameters which the court is to
              evaluate in determining whether minimization has been
              accomplished. In Scott v. United States, 436 U.S. 128, 136
              (1978), the Court held that the determination of whether
              minimization has been accomplished depends upon “an
              objective assessment of the officer’s actions in light of the facts
              and circumstances confronting him at the time.” Therefore,
              when a reviewing court is considering whether minimization
              had been accomplished, that is, whether the interception of
              non-pertinent calls had been adequately avoided, the court
              would view the matter from the perspective of the officer at the

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            time he/she was monitoring the wiretap to determine
            objectively whether minimization occurred.
                   Among the factors considered in evaluating whether
            minimization efforts were reasonable and successful are the
            following:
                          (1)     The nature of the offense being
                   investigated and the purposes of the
                   investigation and surveillance;
                          (2)     The type and location of the device
                   (telephone or a bug) and the type of speakers in
                   conversations to be expected at that location;
                          (3)     The suspects’ apparent awareness
                   of the possibility of surveillance and their use of
                   counter-measures;
                          (4)     The officers’ implementation of
                   generally accepted and preferred minimization
                   techniques; and
                          (5)     the degree of judicial supervision.
            United States v. Garcia, 785 F.2d 214, 224 (8th Cir.), cert.
            denied, 475 U.S. 1143 (1986).
                   While there is no specific requirement that minimization
            be accomplished by a specific procedure, there are generally
            accepted techniques. “Courts have approved a number of
            procedures which can and should be used to achieve
            minimization. Among these are pre-search guidelines, special
            instructions, mid-search supervision, and monitoring
            procedures intended to reduce the interception of unrelated
            calls while enabling the surveillance to fulfill its purposes.”
            James G. Carr, The Law of Electronic Surveillance § 5.7(c)
            at 5-32 (2d ed. 1993).
                   The time that a particular call is intercepted relative to
            the length the wiretap has been in operation can also be
            relevant to the duty to minimize.
                   “At the outset of the surveillance, officers
                   generally will be permitted to conduct lengthy
                   interception of all, or nearly all, calls. Thus, at
                   that time, and even throughout the period of
                   interception, all conversations can be overheard
                   for a brief period to identify the speakers and
                   ascertain pertinence. Most courts have upheld
                   interception for these purposes if it or the
                   conversation terminated in less than two
                   minutes. The mechanics of logging the call,
                   determining speaker identity, and assessing


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                      pertinence have generally been held to require
                      full interception up to two minutes.”
               James M. Carr, Electronic Surveillance, § 5.7(c) at p. 5-36-
               37. Accord, United States v. Hinton, 543 F.2d 1002, 1012
               (2d Cir.), cert. denied, 429 U.S. 980 (1976).
                      As a general rule, courts have been more tolerant of
               extensive surveillance in conspiracy cases, particularly
               narcotics conspiracies. United States v. O’Connell, 841 F.2d
               1408, 1417 (8th Cir.), cert. denied, 487 U.S. 1210 (1988), 488
               U.S. 1011 (1989). Similarly, less effort to minimize is
               necessary with regard to conversations between known co-
               conspirators. United States v. Torres, 908 F.2d 1417, 1424
               (9th Cir.), cert. denied, 498 U.S. 905, 498 U.S. 948 (1990).
 United States v. Belitz, 8:CR94-00095 (D. Neb.) (Report & Recommendation by
 Magistrate Judge Jaudzemis, Filing No. 442, June 29, 1995).
        Felix makes a general attack on the lack of minimization. The government has
 established a minimization protocol which was approved by Chief Judge Kopf.
 Furthermore, the protocol was reasonable under the circumstances of the drug trafficking
 organization under investigation. Exhibits 15 and 16 and Agent Armstrong’s testimony
 establish that minimization occurred and such minimization met all the standards of 18
 U.S.C. § 2518)5). The evidence reflects the protocols were followed. See United States
 v. Padilla-Pena, 129 F.3d 457, 462-63 (8th Cir. 1997). Adequate minimization occurred
 in this matter. There is no factual basis to support the motion to suppress on the basis that
 law enforcement failed to minimize intercepted conversations.


                              4. Failure to Seal Recordings
        Felix asserts the intercepted communications should be suppressed because the
 interceptions were not sealed in accordance with statute. Title 18 U.S.C. § 2518(8)(a)
 provides, in part: “Immediately upon the expiration of the period of the order, or extensions
 thereof, such recordings shall be made available to the judge issuing such order and sealed
 under his directions.”   There is no question that immediately after the interception
 terminated on February 6, 2005, the interception tapes were presented to Chief Judge Kopf
 and were ordered sealed (Exhibit 14). The tapes were then sealed with the clerk (Exhibit



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 15). As such, there appears to be strict compliance with the sealing requirements of the
 federal statute. Accordingly, Felix’s position is without merit.


        IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
        Felix’s amended motion to suppress (Filing No. 177) be denied.


                                        ADMONITION
        Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
 be filed with the Clerk of the Court within ten (10) days after being served with a copy of
 this Report and Recommendation. Failure to timely object may constitute a waiver of any
 objection. The brief in support of any objection shall be filed at the time of filing such
 objection.   Failure to file a brief in support of any objection may be deemed an
 abandonment of the objection.
        DATED this 12th day of September, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




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